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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                     Plaintiff,
v.                                              CASE NO.: 21-cr-342 PLF


JERAMIAH CAPLINGER,

                     Defendant.
                                        /

                     DEFENDANT’S UNOPPOSSED MOTION
                        TO CANCEL APPELLATE BOND

        Defendant moves this Court to enter an order cancelling his appellate bond. In

support of his request Defendant states that:

     1. Defendant Caplinger was sentenced to 35 days in custody followed by 2 years of

        probation.

     2. He filed a timely notice of appeal

     3. On September 2, 2022, this Court granted Defendant Caplinger bond pending

        appeal.

     4. Defendant Caplinger’s appeal is still pending.

     5. Due to his personal circumstances, Defendant Caplinger feels it is in his best

        interest to serve his 35 days of imprisonment this winter, while his place of

        employment is willing to hold his job open for him.

     6. He has made arrangements with his employer to work through mid-February.
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   7. He requests that his bond be cancelled and that he be ordered to report FCI

      Milan, his designated institution, on February 20, 2023.

   8. The Assistant United States Attorney assigned to this case has been contacted

      and he has no opposition to Defendant’s request.

      Defendant requests that appellate bond be cancelled and that he be ordered to

report to FCI Milan on February 20, 2023. Defendant reserves the right to request a

delay in his reporting if his appeal is decided in his favor prior to February 20, 2023.

                                         Submitted,

                                         s/James R. Gerometta
                                         Counsel for Jeramiah Caplinger
                                         Federal Community Defender
                                         613 Abbott Street, Suite 500
                                         Detroit, Michigan 48226
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Dated: February 2, 2023
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                      UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA,

                   Plaintiff,
v.                                             CASE NO.: 21-cr-342 PLF


JERAMIAH CAPLINGER,

                   Defendant.
                                     /

             BRIEF IN SUPPORT OF DEFENDANT’S
       UNOPPOSSED MOTION TO CANCEL APPELLATE BOND

      For the reasons state in Defendant’s brief and because the Government has no

opposition, this Court should enter an order cancelling Defendant’s appellate bond and

directing him to report to the Bureau of Prisons at FCI Milan on February 20, 2023.

                                         Submitted,

                                         s/James R. Gerometta
                                         Counsel for Jeramiah Caplinger
                                         Federal Community Defender
                                         613 Abbott Street, Suite 500
                                         Detroit, Michigan 48226
                                         Email: james_gerometta@fd.org
                                         Phone: 313.967.5542



February 2, 2023
